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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-00044 GEB
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          [PROPOSED] FINDINGS AND ORDER
14   PETER KUZMENKO,                                    DATE: July 29, 2016
                                                        TIME: 9:00 a.m.
15                                Defendant.            COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION
18         1.      By previous order, this matter was set for status on July 29, 2016.

19                 a)      By this stipulation, defendant now moves to continue the status conference until

20         September 23, 2016, and to exclude time between July 29, 2016, and September 23, 2016, under

21         Local Code T4.

22         2.      The parties agree and stipulate, and request that the Court find the following:

23                 a)      The government has represented that the discovery associated with this case

24         includes investigative reports and related documents, as well as tax documents, bank records and

25         other documents obtained via subpoena. The government estimates that this discovery consists

26         of more than 15,000 pages of documents. All of this discovery has been produced directly to

27         counsel and/or has been made available for inspection and copying.

28                 b)      The discovery in this case consists of more than fifteen thousand pages of


      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      1
30    FINDINGS AND ORDER
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 1        documents. Defense counsel has recently concluded one federal trial and is set to begin another

 2        the week of August 1, 2016. Given his impacted trial schedule and the need to prepare for, and

 3        try, those cases, he is currently unavailable to try this case and to otherwise conduct necessary

 4        investigation and discovery review.

 5                c)      Counsel for defendant believes that failure to grant the above-requested

 6        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 7        into account the exercise of due diligence.

 8                d)      The government does not object to the continuance.

 9                e)      Based on the above-stated findings, the ends of justice served by continuing the

10        case as requested outweigh the interest of the public and the defendant in a trial within the

11        original date prescribed by the Speedy Trial Act.

12                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13        et seq., within which trial must commence, the time period of July 29, 2016 to September 23,

14        2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

15        T4] because it results from a continuance granted by the Court at defendant’s request on the basis

16        of the Court’s finding that the ends of justice served by taking such action outweigh the best

17        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
30   FINDINGS AND ORDER
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 1        3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2        Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3        a trial must commence.

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 5        IT IS SO STIPULATED.

 6 Dated: July 27, 2016                                     PHILLIP A. TALBERT
                                                            Acting United States Attorney
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 8                                                          /s/ MICHELE BECKWITH
                                                            MICHELE BECKWITH
 9                                                          Assistant United States Attorney
10

11 Dated: July 27, 2016                                     /s/ MICHAEL CHASTAINE
                                                            MICHAEL CHASTAINE
12
                                                            Counsel for Defendant
13                                                          Peter Kuzmenko

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18                                         FINDINGS AND ORDER

19        IT IS SO FOUND AND ORDERED.

20        Dated: July 27, 2016

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       3
30   FINDINGS AND ORDER
